   Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 1 of 23 PageID #: 760


               IN THE UNITED STATES DISTRICT COURT
            FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                               AT CHARLESTON

WEST VIRGINIA MEDICAL INSTITUTE, INC.,

            PLAINTIFF,

VS.                                         CIVIL ACTION NO. 2:15-cv-13449

INNOVATION RESOURCE GROUP, LLC
d/b/a APS HEALTHCARE MIDWEST, a
Wisconsin limited liability company,
KEPRO ACQUISITIONS, INC., a Pennsylvania
corporation, WEST VIRGINIA DEPARTMENT
OF ADMINISTRATION, PURCHASING DIVISION,
a West Virginia agency, WEST VIRGINIA
DEPARTMENT OF HEALTH AND HUMAN
RESOURCES, West Virginia agency, ANGELA HOBBS,
an individual, and KRISTYN TAYLOR, an individual,

            DEFENDANTS.

      ANSWER OF DEFENDANTS, ANGELA HOBBS AND KRISTYN TAYLOR

       Now come the Defendants, Angela Hobbs and Kristyn Taylor, by counsel,

Timothy J. LaFon, and for their Answer to the Complaint states as follows:

       1.   The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 1 of the Plaintiff’s Complaint.

       2.   The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 2 of the Plaintiff’s Complaint.

       3.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 3 of the Plaintiff’s Complaint and therefore deny the same.

       4.   The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 4 of the Plaintiff’s Complaint.
   Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 2 of 23 PageID #: 761


      5.    The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 5 of the Plaintiff’s Complaint.

      6.    The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 6 of the Plaintiff’s Complaint.

      7.    The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 7 of the Plaintiff’s Complaint.

      8.    The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 8 of the Plaintiff’s Complaint and therefore deny the same.

      9.    The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 9 of the Plaintiff’s Complaint and therefore deny the same.

      10.   The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 10 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      11.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 11 of the Plaintiff’s Complaint and therefore deny the same.

      12.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 12 of the Plaintiff’s Complaint and therefore deny the same.

      13.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge


                                         2
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 3 of 23 PageID #: 762


or information sufficient to form a belief about the truth of the allegations in

Paragraph 13 of the Plaintiff’s Complaint and therefore deny the same.

      14.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 14 of the Plaintiff’s Complaint and therefore deny the same.

      15.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 15 of the Plaintiff’s Complaint and therefore deny the same.

      16.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 16 of the Plaintiff’s Complaint and therefore deny the same.

      17.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 17 of the Plaintiff’s Complaint and therefore deny the same.

      18.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 18 of the Plaintiff’s Complaint and therefore deny the same.

      19.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 19 of the Plaintiff’s Complaint and therefore deny the same.

      20.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge




                                       3
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 4 of 23 PageID #: 763


or information sufficient to form a belief about the truth of the allegations in

Paragraph 20 of the Plaintiff’s Complaint and therefore deny the same.

      21.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 21 of the Plaintiff’s Complaint and therefore deny the same.

      22.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 22 of the Plaintiff’s Complaint and therefore deny the same.

      23.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 23 of the Plaintiff’s Complaint and therefore deny the same.

      24.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 24 of the Plaintiff’s Complaint and therefore deny the same.

      25.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 25 of the Plaintiff’s Complaint and therefore deny the same.

      26.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 26 of the Plaintiff’s Complaint and therefore deny the same.

      27.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge




                                       4
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 5 of 23 PageID #: 764


or information sufficient to form a belief about the truth of the allegations in

Paragraph 27 of the Plaintiff’s Complaint and therefore deny the same.

      28.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 28 of the Plaintiff’s Complaint and therefore deny the same.

      29.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 29 of the Plaintiff’s Complaint and therefore deny the same.

      30.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 30 of the Plaintiff’s Complaint and therefore deny the same.

      31.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 31 of the Plaintiff’s Complaint and therefore deny the same.

      32.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 32 of the Plaintiff’s Complaint and therefore deny the same.

      33.    The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 33 of the Plaintiff’s Complaint and therefore deny the same.

      34.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge




                                       5
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 6 of 23 PageID #: 765


or information sufficient to form a belief about the truth of the allegations in

Paragraph 34 of the Plaintiff’s Complaint and therefore deny the same.

      35.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 35 of the Plaintiff’s Complaint and therefore deny the same.

      36.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 36 of the Plaintiff’s Complaint and therefore deny the same.

      37.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 37 of the Plaintiff’s Complaint and therefore deny the same.

      38.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 38 of the Plaintiff’s Complaint and therefore deny the same.

      39.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 39 of the Plaintiff’s Complaint and therefore deny the same.

      40.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 40 of the Plaintiff’s Complaint and therefore deny the same.

      41.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge




                                       6
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 7 of 23 PageID #: 766


or information sufficient to form a belief about the truth of the allegations in

Paragraph 41 of the Plaintiff’s Complaint and therefore deny the same.

      42.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 42 of the Plaintiff’s Complaint and therefore deny the same.

      43.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 43 of the Plaintiff’s Complaint and therefore deny the same.

      44.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 44 of the Plaintiff’s Complaint and therefore deny the same.

      45.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 45 of the Plaintiff’s Complaint and therefore deny the same.

      46.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 46 of the Plaintiff’s Complaint and therefore deny the same.

      47.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 47 of the Plaintiff’s Complaint and therefore deny the same.

      48.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge




                                       7
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 8 of 23 PageID #: 767


or information sufficient to form a belief about the truth of the allegations in

Paragraph 48 of the Plaintiff’s Complaint and therefore deny the same.

      49.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 49 of the Plaintiff’s Complaint and therefore deny the same.

      50.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 50 of the Plaintiff’s Complaint and therefore deny the same.

      51.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 51 of the Plaintiff’s Complaint and therefore deny the same.

      52.   Paragraph 52 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      53.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 53 of the Plaintiff’s Complaint and therefore deny the same.

      54.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 54 of the Plaintiff’s Complaint and therefore deny the same.

      55.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge




                                       8
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 9 of 23 PageID #: 768


or information sufficient to form a belief about the truth of the allegations in

Paragraph 55 of the Plaintiff’s Complaint and therefore deny the same.

      56.   Paragraph 56 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      57.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 57 of the Plaintiff’s Complaint and therefore deny the same.

      58.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 58 of the Plaintiff’s Complaint and therefore deny the same.

      59.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 59 of the Plaintiff’s Complaint and therefore deny the same.

      60.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 60 of the Plaintiff’s Complaint and therefore deny the same.

      61.   The Defendants, Angela Hobbs and Kristyn Taylor, lack knowledge

or information sufficient to form a belief about the truth of the allegations in

Paragraph 62 of the Plaintiff’s Complaint and therefore deny the same.

      63.   Paragraph 63 of the Plaintiff’s Complaint makes no allegations




                                       9
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 10 of 23 PageID #: 769


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      64.   Paragraph 64 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      65.   The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 65 of the Plaintiff’s Complaint.

      66.   The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 66 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      67.   The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 67 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      68.   The Defendants, Angela Hobbs and Kristyn Taylor, admit the

allegations set forth in Paragraph 68 of the Plaintiff’s Complaint.

      69.   The Defendants, Angela Hobbs and Kristyn Taylor, admit they

downloaded certain documents and e-mails; however, deny the amount and the

remaining allegations set forth in Paragraph 69 of the Plaintiff’s Complaint.

      70.   The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 70 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      71.   The Defendants, Angela Hobbs and Kristyn Taylor, deny the


                                        10
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 11 of 23 PageID #: 770


allegations set forth in Paragraph 71 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      72.   The Defendants, Angela Hobbs and Kristyn Taylor, admit they have

certain documents in their possession; however, deny the remaining allegations

set forth in Paragraph 72 of the Plaintiff’s Complaint.

      73.   The Defendants, Angela Hobbs and Kristyn Taylor, admit they

possess certain e-mails and documents as set forth in Paragraph 73 of the

Plaintiff’s Complaint.

      74.   Paragraph 74 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      75.   Paragraph 75 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      76.   Paragraph 76 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      77.   The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 77 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      78.   Paragraph 78 of the Plaintiff’s Complaint makes no allegations




                                        11
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 12 of 23 PageID #: 771


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      79.   The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 78 of this Answer to Plaintiff’s

Complaint in response to Paragraph 79 of Plaintiff’s Complaint.

      80.   Paragraph 80 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      81.   Paragraph 82 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      83.   Paragraph 83 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      84.   Paragraph 84 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      85.   Paragraph 85 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      86.   Paragraph 86 of the Plaintiff’s Complaint makes no allegations




                                      12
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 13 of 23 PageID #: 772


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      87.   Paragraph 87 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      88.   The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 87 of this Answer to Plaintiff’s

Complaint in response to Paragraph 88 of Plaintiff’s Complaint.

      89.   Paragraph 89 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      90.   Paragraph 90 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      91.   Paragraph 91 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      92.   Paragraph 92 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      93.   Paragraph 93 of the Plaintiff’s Complaint makes no allegations




                                      13
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 14 of 23 PageID #: 773


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      94.   Paragraph 94 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      95.   Paragraph 95 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      96.   Paragraph 96 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      97.   Paragraph 97 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      98.   Paragraph 98 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      99.   Paragraph 99 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      100. Paragraph 100 of the Plaintiff’s Complaint makes no allegations




                                      14
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 15 of 23 PageID #: 774


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      101. Paragraph 101 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      102. The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 101 of this Answer to Plaintiff’s

Complaint in response to Paragraph 102 of Plaintiff’s Complaint.

      103. Paragraph 103 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      104. Paragraph 104 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      105. Paragraph 105 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      106. Paragraph 106 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      107. Paragraph 107 of the Plaintiff’s Complaint makes no allegations




                                      15
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 16 of 23 PageID #: 775


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      108. The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 107 of this Answer to Plaintiff’s

Complaint in response to Paragraph 108 of Plaintiff’s Complaint.

      109. Paragraph 109 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      110. Paragraph 110 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      111. Paragraph 111 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      112. Paragraph 112 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      113. Paragraph 113 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      114. Paragraph 114 of the Plaintiff’s Complaint makes no allegations




                                      16
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 17 of 23 PageID #: 776


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      115. Paragraph 115 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      116. Paragraph 116 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      117. Paragraph 117 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      118. Paragraph 118 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      119. Paragraph 119 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      120. Paragraph 120 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      121. Paragraph 121 of the Plaintiff’s Complaint makes no allegations




                                     17
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 18 of 23 PageID #: 777


applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      122. Paragraph 122 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      123. Paragraph 123 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      124. Paragraph 124 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      125. Paragraph 125 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      126. Paragraph 126 of the Plaintiff’s Complaint makes no allegations

applicable to the Defendants, Angela Hobbs and Kristyn Taylor, and therefore a

response is not required.

      127. The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 126 of this Answer to Plaintiff’s

Complaint in response to Paragraph 127 of Plaintiff’s Complaint.

      128. The Defendants, Angela Hobbs and Kristyn Taylor, deny the




                                      18
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 19 of 23 PageID #: 778


allegations set forth in Paragraph 128 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      129. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 129 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      130. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 130 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      131. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 131 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      132. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 132 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      133. The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 132 of this Answer to Plaintiff’s

Complaint in response to Paragraph 133 of Plaintiff’s Complaint.

      134. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 134 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      135. The Defendants, Angela Hobbs and Kristyn Taylor, deny the




                                       19
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 20 of 23 PageID #: 779


allegations set forth in Paragraph 135 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      136. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 136 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      137. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 137 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      138. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 138 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      139. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 139 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      140. The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 139 of this Answer to Plaintiff’s

Complaint in response to Paragraph 140 of Plaintiff’s Complaint.

      141. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 141 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      142. The Defendants, Angela Hobbs and Kristyn Taylor, deny the




                                       20
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 21 of 23 PageID #: 780


allegations set forth in Paragraph 142 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      143. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 143 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      144. The Defendants, Angela Hobbs and Kristyn Taylor, restate the

answers contained in Paragraphs 1 through 143 of this Answer to Plaintiff’s

Complaint in response to Paragraph 144 of Plaintiff’s Complaint.

      145. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 145 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      146. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 146 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

      147. The Defendants, Angela Hobbs and Kristyn Taylor, deny the

allegations set forth in Paragraph 147 of the Plaintiff’s Complaint and therefore

demand strict proof thereof.

                            AFFIRMATIVE DEFENSES

      The Defendants, Angela Hobbs and Kristyn Taylor, assert any and all

affirmative defenses including accord and satisfaction, arbitration and award,

assumption of risk, contributory negligence, discharge in bankruptcy, duress,

estoppel, failure of consideration, fraud, illegality, injury by fellow servant, laches,


                                          21
  Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 22 of 23 PageID #: 781


license, payment and relief, res judicata, statute of frauds, statute of limitations,

waiver or any other matter constituting an avoidance or affirmative defense and

which may become apparent after discovery in this matter is completed.

      The Plaintiffs failed to perfect service.

                                      PRAYER

      WHEREFORE, the Defendants, Angela Hobbs and Kristyn Taylor, request

the Court dismiss this Complaint and award the Defendants, Angela Hobbs and

Kristyn Taylor, their costs and attorney fees incurred in having to defend the same

and for such other and further relief as the Court deems just.

      The Defendants, Angela Hobbs and Kristyn Taylor, demand a Jury Trial

in this matter.

                                              ANGELA HOBBS and
                                              KRISTYN TAYLOR

                                              By Counsel,

CICCARELLO, DEL GIUDICE & LAFON



By: /s/Timothy J. Lafon
   Timothy J. LaFon (WV #2123)
   1219 Virginia Street, East, Suite 100
   Charleston, West Virginia 25301
   Phone:    (304) 343-4440
   Attorney for Defendants, Angela Hobbs and
   Kristyn Taylor




                                         22
   Case 2:15-cv-13449 Document 17 Filed 10/02/15 Page 23 of 23 PageID #: 782


                                 CERTIFICATE OF SERVICE

        I, Timothy J. LaFon, do hereby certify that the foregoing “Answer of

Defendants, Angela Hobbs and Kristyn Taylor” has been served upon all parties

via the Court’s electronic filing system on the 2nd day of October, 2015:

                        Carte P. Goodwin, Esq.
                        300 Summers Street, Suite 1500
                        Charleston, West Virginia 25301
                        Attorney for Plaintiff

                        Kelli D. Talbott, Esq.
                        Office of the West Virginia Attorney General
                        404 Hamlet Way
                        Charleston, West Virginia 25314
                        Attorney for Defendant, West Virginia Department          of
                        Administration, Purchasing Division

                        Webster J. Arceneaux, III, Esq.
                        Ramonda C. Lyons, Esq.
                        300 Summers Street, Suite 700
                        Charleston, West Virginia 25301
                        Attorney for Defendant, Innovative Resource Group, LLC d/b/a
                        APS Healthcare Midwest KEPRO Acquisitions, Inc.

                        Christopher S. Dodrill, Esq.
                        Office of the West Virginia Attorney General
                        812 Quarrier Street, Floor 6
                        Charleston, West Virginia 25301
                        Attorney for Defendant, West Virginia Department of Health
                        and Human Resources

CICCARELLO, DEL GIUDICE & LAFON



By: /s/Timothy J. LaFon
   Timothy J. LaFon (WV #2123)
   Attorney for Defendants, Angela Hobbs and
   Kristyn Taylor

S:\Debby\Clients\Hobbs, Angela\Answer 10-2-15.wpd


                                                    23
